              Case 23-55369-jwc                                 Doc 19               Filed 06/21/23 Entered 06/21/23 15:28:13                                                               Desc Main
                                                                                     Document      Page 1 of 1

 Fill in this information to identify the case:

              Rainbow House, Inc. _____ _____ _____ ______ _____ _____ _____ _
 Debtor name ____________________________

                                          Northern
 United States Bankruptcy Court f or the: _______________________             GA
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              23-55369-jwc
                                      _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                Unknown
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:                                                                                                                                                               Unknown
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                Unknown
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................
                                                                                                                                                                                                N/A
                                                                                                                                                                                              $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  Unknown
                                                                                                                                                                                              $ ________________


     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................
                                                                                                                                                                                                Unknown
                                                                                                                                                                                            + $ ________________



4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                Unknown
                                                                                                                                                                                              $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                page 1
